                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                          AT KNOXVILLE

 GREG ADKISSON, et al.,                                )
             Plaintiffs,                               )
                                                       )
 v.                                                    )      No. 3:13-CV-505-TAV-HBG
                                                       )
 JACOBS ENGINEERING GROUP, INC.,                       )
             Defendant.                                )


 KEVIN THOMPSON, et al.,                               )
             Plaintiffs,                               )
                                                       )
 v.                                                    )      No. 3:13-CV-666-TAV-HBG
                                                       )
 JACOBS ENGINEERING GROUP, INC.,                       )
             Defendant.                                )



 JOE CUNNINGHAM and TAYLOR CUNNINGHAM,                 )
             Plaintiffs,                               )
                                                       )
 v.                                                    )      No. 3:14-CV-20-TAV-HBG
                                                       )
 JACOBS ENGINEERING GROUP, INC.,                       )
             Defendant.                                )



                                 ORDER OF CONSOLIDATION

        This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

 and Standing Order 13-02

        Now before the Court is Plaintiffs’ Motion to Consolidate, filed in Case No. 3:13-CV-

 666. In the Motion to Consolidate, Plaintiffs represent that these actions involve common

 questions of law and fact. The Plaintiffs maintain that consolidate will conserve the Court and

 the parties’ resources, and they represent that no party will be prejudiced by the consolidation.

        The Court finds that the Defendant in all three of these cases is the same, and the

 Defendant has been served with a copy of the Motion to Consolidate through Case No. 3:13-CV-




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 666. The Court finds that the Defendants have not responded in opposition to the Motion to

 Consolidate, and the time for doing so has expired. See E.D. Tenn. L.R. 7.1. The Court finds

 that the request to consolidate these cases can be granted based upon the failure to respond alone.

 See E.D. Tenn. L.R. 7.2. The Court further finds that the claims in these cases present numerous

 common questions of law and fact, and the Court finds that it is appropriate to consolidate the

 three actions.

        Accordingly, the Court finds that the Motion to Consolidate is well-taken, and it is

 GRANTED. The cases captioned above are CONSOLIDATED pursuant to Rule 42 of the

 Federal Rules of Civil Procedure. Adkisson v. Jacobs Engineering Group, Inc., 3:13-CV-505, is

 the first-filed of the three cases, and it SHALL SERVE as the lead case for purposes of this

 consolidation. All future filings shall only be made in Adkisson v. Jacobs Engineering Group,

 Inc., 3:13-CV-505.

        IT IS SO ORDERED.

                                              ENTER:



                                              United States Magistrate Judge




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